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                                 UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF NEW JERSEY


    In re:                                                         Chapter 11

    NEW ENGLAND MOTOR FREIGHT, INC.,                               Case No. 19-12809 (JKS)
    et al.,
                                                                   (Jointly Administered)
                               Debtors.1



                   NOTICE OF FILING OF VERIFICATION OF PUBLICATION

             PLEASE TAKE NOTICE that pursuant to the terms of the Order Establishing Bar Dates

and Procedures and Approving the Form and Manner of Notice Thereof dated May 2, 2019

[Docket No. 519], the Debtors caused to be published in The New York Times on May 6, 2019, the

Notice of Bar Dates for Filing Claims (the “Notice”). Copies of the Verification of Publication by

Alice Weber, Principal Clerk of the Publisher of The New York Times and the Notice are attached

hereto as Exhibit A.


1
 The Debtors in these chapter 11 cases and the last four digits of each Debtor’s taxpayer identification number are as follows:
New England Motor Freight, Inc. (7697); Eastern Freight Ways, Inc. (3461); NEMF World Transport, Inc. (2777); Apex
Logistics, Inc. (5347); Jans Leasing Corp. (9009); Carrier Industries, Inc. (9223); Myar, LLC (4357); MyJon, LLC (7305);
Hollywood Avenue Solar, LLC (2206); United Express Solar, LLC (1126); and NEMF Logistics, LLC (4666).



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May 7, 2019                            GIBBONS P.C.
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